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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                           CASE NO. 3:17cr107/MCR

RYAN J. ROMERO
______________________________/

                     FORFEITURE MONEY JUDGMENT

      WHEREAS, in the Indictment in the above-entitled action, the United States

sought forfeiture from defendant RYAN J. ROMERO pursuant to Title 18, United

States Code, Sections 981(a)(1)(C), and Title 28, United States Code, Section

2461(c), the defendant=s interest in any property, real or personal, involved in the

violations set forth in Count One and/or any property traceable to the same, ECF No.

1;

      AND WHEREAS, on or about March 29, 2018, the defendant pled guilty as

charged in the Indictment, ECF Nos. 50 and 52;

      AND WHEREAS, THIS CAUSE comes before the Court upon the

government’s Motion and Memorandum for Issuance of a Forfeiture Money

Judgment in the amount of $160,365.70 against defendant RYAN J. ROMERO

which upon entry, shall become a final order of forfeiture as to defendant RYAN J.

ROMERO, ECF No. 65;
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      AND WHEREAS, this Court being fully advised in the premises, hereby finds

that the United States has established that it is entitled to a monetary judgment in the

amount of $160,365.70 against defendant RYAN J. ROMERO pursuant to Title

18, United States Code, Sections 981(a)(1)(C), Title 28, United States Code, Section

2461(c), and Rule 32.2, Federal Rules of Criminal Procedure; now wherefore,

      IT IS HEREBY ORDERED:

      1.     A forfeiture money judgment in the amount of $160,365.70 is entered

against defendant RYAN J. ROMERO and shall be included in the sentence of the

defendant, and the Attorney General (or a designee) may take steps to collect the

judgment from any property of the defendant, in accordance with the substitute asset

provisions of Title 18, United States Code, Section 982 and Federal Rules of

Criminal Procedure, Rule 32.2.

      2.     Upon the seizure of any property to satisfy all or part of the judgment,

the United States shall, to the extent practicable, provide direct written notice to any

persons known to have alleged an interest in the seized property, and shall publish

notice of the forfeiture as required by law.

      3.     That a monetary judgment of forfeiture in the amount of $160,365.70




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is hereby entered in favor of the United States against defendant RYAN J.

ROMERO pursuant to Federal Rules of Criminal Procedure, Rule 32.2.

     IT IS SO ORDERED this 18th day of July 2018




                                    s/   M. Casey Rodgers
                                   M. CASEY RODGERS
                                   UNITED STATES DISTRICT JUDGE




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